                                                                                                                    Case 3:19-cv-07071-SI       Document 140      Filed 07/27/21     Page 1 of 7


                                                                                                         1   TUCKER ELLIS LLP
                                                                                                             David J. Steele SBN 209797
                                                                                                         2   david.steele@tuckerellis.com
                                                                                                             Howard A. Kroll SBN 100981
                                                                                                         3   howard.kroll@tuckerellis.com
                                                                                                             Steven E. Lauridsen SBN 246364
                                                                                                         4   steven.lauridsen@tuckerellis.com
                                                                                                             515 South Flower Street
                                                                                                         5   Forty-Second Floor
                                                                                                             Los Angeles, CA 90071
                                                                                                         6   Telephone:        213.430.3400
                                                                                                             Facsimile:        213.430.3409
                                                                                                         7
                                                                                                             DAVIS POLK & WARDWELL LLP
                                                                                                         8   Ashok Ramani SBN 200020
                                                                                                             ashok.ramani@davispolk.com
                                                                                                         9   Micah G. Block SBN 270712
                   Chicago ♦ Cleveland ♦ Columbus ♦ Houston ♦ Los Angeles ♦ San Francisco ♦ St. Louis




                                                                                                             micah.block@davispolk.com
                                                                                                        10   Cristina M. Rincon Pro Hac Vice
                                                                                                             Cristina.rincon@davispolk.com
                                                                                                        11   1600 El Camino Real
                                                                                                             Menlo Park, CA 94025
                                                                                                        12   Telephone: 650.752.2000
                                                                                                             Facsimile:     650.752.2111
                                                                                                        13
TUCKER ELLIS LLP




                                                                                                             Attorneys for Plaintiffs,
                                                                                                        14   FACEBOOK, INC. and INSTAGRAM, LLC

                                                                                                        15                                 UNITED STATES DISTRICT COURT

                                                                                                        16                              NORTHERN DISTRICT OF CALIFORNIA

                                                                                                        17   FACEBOOK, INC. and INSTAGRAM, LLC,              Case No. 5:19-cv-07071-SVK

                                                                                                        18                        Plaintiffs,                PLAINTIFFS’ SUPPLEMENTAL BRIEF IN
                                                                                                                                                             SUPPORT OF PRELIMINARY
                                                                                                        19          v.                                       INJUNCTION

                                                                                                        20   ONLINENIC INC.; DOMAIN ID SHIELD                DATE:       August 5, 2021
                                                                                                             SERVICE CO., LIMITED; and DOES 1-20,            TIME:       1:30 p.m.
                                                                                                        21                                                   CTRM:       6 – 4th Floor
                                                                                                                                  Defendants.
                                                                                                        22                                                   Hon. Susan van Keulen

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                                                                                                                                      PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY INJUNCTION
                                                                                                                                                                                    Case No. 5:19-cv-07071-SVK
                                                                                                                     Case 3:19-cv-07071-SI              Document 140     Filed 07/27/21      Page 2 of 7


                                                                                                         1   I.      INTRODUCTION

                                                                                                         2           Defendants have made numerous misrepresentations to the Court, to the Special Discovery Master,

                                                                                                         3   and to Plaintiffs throughout this litigation. Only when their lies are uncovered do Defendants acknowledge

                                                                                                         4   their wrongs, and even then, only through thinly veiled excuses. Defendants partially opposed entry of the

                                                                                                         5   temporary restraining order based on additional misrepresentations made to the Court. ECF No. 131

                                                                                                         6   (“Opposition”)–that they were not dissipating their assets when transferring their domain name portfolio

                                                                                                         7   (“Defendants’ Domain Names”). Yet, this transfer was initiated without informing the Court or Plaintiffs,

                                                                                                         8   and was only stopped because Plaintiffs, as a result of their own investigation, uncovered Defendants’

                                                                                                         9   actions and confronted Defendants. Defendants now claim that the transfer of Defendants’ Domain Names
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                                                                                                        10   was done in order to sell the portfolio for $70,000 to purportedly fulfill their existing obligation to pay the

                                                                                                        11   Special Master. Given that the fair market value of the portfolio may well be higher than $70,000,

                                                                                                        12   Defendants’ justifications belie the truth. Moreover, it appears that Defendants failed to disclose all of

                                                                                                        13   their domain name assets to the Court in their most recent filings.
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                                                                                                        14           On July 23, 2021, the Court entered its Order Granting In Part And Denying In Part Plaintiffs’

                                                                                                        15   Emergency Ex Parte Application For A Temporary Restraining Order Freezing Defendants’ Assets. ECF

                                                                                                        16   No. 132. The Court found “that Plaintiffs have shown a likelihood of immediate and irreparable injury by

                                                                                                        17   dissipation of assets” if injunctive relief were not ordered. Id. at 1. And given Defendants’ non-opposition

                                                                                                        18   to Plaintiffs’ Motion for Default Judgment, (ECF No. 120), there is no dispute that Plaintiffs are likely to

                                                                                                        19   succeed on the merits of their claims. Furthermore, the harm from a denial of the preliminary injunction

                                                                                                        20   substantially outweighs any harm Defendants would suffer as a result of its entry, as it would only allow

                                                                                                        21   Defendants another opportunity to dissipate their assets. Finally, an injunction advances the public interest

                                                                                                        22   by preventing Defendants from escaping liability and continuing their venture as notorious cybersquatters.

                                                                                                        23   See Disney Enters., Inc. v. VidAngel, Inc., 869 F.3d 848, 856 (9th Cir. 2017) (internal brackets omitted)

                                                                                                        24   (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)) (“A party can obtain a preliminary

                                                                                                        25   injunction by showing that (1) it is ‘likely to succeed on the merits,’ (2) it is ‘likely to suffer irreparable

                                                                                                        26   harm in the absence of preliminary relief,’ (3) ‘the balance of equities tips in its favor,’ and (4) ‘an

                                                                                                        27   injunction is in the public interest’”).

                                                                                                        28           A preliminary injunction is necessary to prevent the Defendants from dissipating their assets

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                                                                                                                                         PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY INJUNCTION
                                                                                                                                                                                       Case No. 5:19-cv-07071-SVK
                                                                                                                     Case 3:19-cv-07071-SI         Document 140         Filed 07/27/21      Page 3 of 7


                                                                                                         1   because the Defendants will try once again to dissipate their assets after the expiration of the temporary

                                                                                                         2   restraining order (“TRO”) and avoid liability.

                                                                                                         3   II.    A PRELIMINARY INJUNCTION IS APPROPRIATE TO PREVENT DEFENDANTS

                                                                                                         4          FROM DISSIPATING THEIR ASSETS.

                                                                                                         5          A.      Defendants’ have attempted to dissipate their assets to avoid their existing and

                                                                                                         6                  prospective obligations.

                                                                                                         7          Faced with the prospect of answering for their wrongs, and owing an obligation to the Special

                                                                                                         8   Master, Defendants attempted to dissipate their assets, just as they did in Verizon. See Verizon Cal. Inc. v.

                                                                                                         9   OnlineNIC, Inc., 647 F. Supp. 2d 1110 (N.D. Cal. 2009). Through their own investigation and due
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                                                                                                        10   diligence conducted on July 20, 2021, Plaintiffs discovered that Defendants initiated the transfer of

                                                                                                        11   hundreds of Defendants’ Domain Names on July 19 and July 20, 2021, to a foreign domain name registrar

                                                                                                        12   to shield those domain names from potential seizure by the Court to satisfy the Special Master’s invoices.

                                                                                                        13   Defendants now contend that the transfer of the Defendants’ Domain Names was initiated with the intent
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                                                                                                        14   to auction off the domain names in order to generate funds to pay the Special Master. ECF No. 131 at 1-

                                                                                                        15   2. Their justifications hold no weight and should not be entertained for at least the following reasons.

                                                                                                        16          First, Defendants fail to explain why this transfer of domain names, if in fact intended to satisfy

                                                                                                        17   their debt owed to the Special Master, was conducted in secret, without apprising either Plaintiffs or the

                                                                                                        18   Court of this purported payment plan. In fact, when discussing how Defendants intended to pay the Special

                                                                                                        19   Master in Mr. Narancic’s June 23, 2021 email to Special Master Howe, and again in comments made to

                                                                                                        20   the Court during the July 20, 2021 Case Management Conference, Defendants never mentioned

                                                                                                        21   Defendants’ Domain Names as an asset, much less liquidating this valuable asset to settle their obligation.

                                                                                                        22   Had Defendants—just the day before the hearing—started liquidating their domain name portfolio to pay

                                                                                                        23   the Special Master (as they now claim), they would have so advised the Court during the hearing. Instead,

                                                                                                        24   Defendants explained their hope to continue as a going concern so as to generate cash to pay the Special

                                                                                                        25   Master over time. See Narancic Decl., Exhibit C, ECE No. 131-2; see Transcript of Zoom Proceedings

                                                                                                        26   Before The Honorable Susan van Keulen, ECE No. 127. Only when Plaintiffs exposed the transfers did

                                                                                                        27   Defendants halt the process, and only when faced with the temporary restraining order did they devise

                                                                                                        28   their explanation.

                                                                                                                                                              3
                                                                                                                                        PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY INJUNCTION
                                                                                                                                                                                      Case No. 5:19-cv-07071-SVK
                                                                                                                     Case 3:19-cv-07071-SI         Document 140         Filed 07/27/21      Page 4 of 7


                                                                                                         1          Second, Defendants do not adequately explain their decision to transfer their domain names to a

                                                                                                         2   Chinese registrar, rather than sell them directly at OnlineNIC. It is not necessary for a domain name holder

                                                                                                         3   to transfer a domain name to another registrar in order to sell it. Declaration of David J. Steele in support

                                                                                                         4   of Plaintiffs’ Supplemental Brief in Support of Preliminary Injunction (“Steele Decl.”) ¶ 2. Domain name

                                                                                                         5   brokers and auction sites routinely sell domain names registered with multiple registrars; the seller merely

                                                                                                         6   transfers the domain names to the buyer at the current registrar. Defendants could more easily sell their

                                                                                                         7   portfolio of domain names without transferring any domain names to another registrar. Id. Additionally,

                                                                                                         8   given that OnlineNIC claims to have no cash on-hand to pay the Special Master, and the cost to transfer
                                                                                                                                                                                      1
                                                                                                         9   each of the several hundred domain names to the sales platform Ename is approximately $10.00, it defies
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                                                                                                        10   logic that OnlineNIC spent thousands of dollars to unnecessarily transfer the domain names to another

                                                                                                        11   ICANN registrar. Id. ¶ 3.

                                                                                                        12          Third, Defendants assert that they have now secured an offer to purchase Defendants’ Domain

                                                                                                        13   Names for $70,000, an amount almost exactly sufficient to satisfy their balance owed to the Special
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                                                                                                        14   Master. ECF No. 131 at 1-2, 4. However, this offer appears suspiciously low because Defendants’ Domain

                                                                                                        15   Names may well be worth more than $70,000. For example, Plaintiffs’ own investigation reveals that a

                                                                                                        16   selection of just 27 domain names (from Defendants’ portfolio of 685) are collectively appraised at values
                                                                                                                                     2             3
                                                                                                        17   ranging from $128,170 to $164,256. Plaintiffs recognize the limitations of these online appraisals; yet,

                                                                                                        18   these appraisals reinforce Plaintiffs’ concern that Defendants purported sale of Defendants’ Domain

                                                                                                        19   Names is not an arms-length transaction. The justification offered by Defendants—that the proceeds from

                                                                                                        20   the sale of their domain names was intended to go to the Special Master—is an obvious attempt post hoc

                                                                                                        21   to explain away their attempted dissipation of a significant asset, rather than abiding by the Court’s Order

                                                                                                        22   to pay the Special Master. If Plaintiffs had not discovered the planned transfer, Defendants’ dissipation

                                                                                                        23   would have undoubtedly succeeded.

                                                                                                        24
                                                                                                             1
                                                                                                        25     Ename is both a Chinese language sales platform and an ICANN accredited domain name registrar based
                                                                                                             in China.
                                                                                                        26   2
                                                                                                               This estimate was obtained from the online domain name valuation tool available at Estibot.com.
                                                                                                        27   Steele Decl. ¶¶ 4-5 & Ex. 1.
                                                                                                             3
                                                                                                        28     This estimate was obtained from the online domain name valuation tool available at GoDaddy.
                                                                                                             Id. ¶¶ 4 & 6 & Ex. 2.
                                                                                                                                                               4
                                                                                                                                         PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY INJUNCTION
                                                                                                                                                                                       Case No. 5:19-cv-07071-SVK
                                                                                                                     Case 3:19-cv-07071-SI         Document 140        Filed 07/27/21   Page 5 of 7


                                                                                                         1          Additionally, Defendants’ Domain Names are comprised of numerous domain names that are

                                                                                                         2   likely confusingly similar to well-known and famous trademarks. Several examples include:

                                                                                                         3   docmartin.org (resembling the DOC MARTINS mark), autobmwreview.com and bmwredesign.com

                                                                                                         4   (resembling the BMW mark), yamahaexciter.com (resembling the YAMAHA mark), and yekp.com

                                                                                                         5   (resembling the YELP mark), to list only a few. See generally ECE 129-2. The sale of these domain names,
                                                                                                                                                       4
                                                                                                         6   without appropriate procedures in place, would merely perpetuate Defendants’ cybersquatting. And

                                                                                                         7   Plaintiffs seriously doubt that the unknown prospective purchaser would undertake these appropriate

                                                                                                         8   protections.

                                                                                                         9          B.      Misrepresentations by Defendants continue to come to light.
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                                                                                                        10          Through continued investigation conducted on July 24, 2021, Plaintiffs discovered that Defendants

                                                                                                        11   misrepresented to the Court the number and identification of domain names currently held by OnlineNIC.

                                                                                                        12   Plaintiffs have identified numerous domain names owned by OnlineNIC that were not listed on
                                                                                                                                                                   5
                                                                                                        13   Defendants’ Second Amended Statement of Assets. Id. ¶ 7. Some of these domain names were also
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                                                                                                        14   transferred to Ename on or about July 19 or July 20, 2021. Id. ¶ 8.

                                                                                                        15          For example, the domain name carrie.club was disclosed by Defendants in discovery as one of the

                                                                                                        16   domain names owned by Defendants. Id. ¶ 9. The data from the whois record for this domain name,

                                                                                                        17   captured on July 19, 2021, shows the domain name registered with OnlineNIC, and the listed owner was

                                                                                                        18   “Network Service” – a known alias used by Defendants. Id. ¶ 10 & Ex. 3. The whois record also shows

                                                                                                        19   the status “pendingTransfer” indicating that the domain name was, as of July 19, 2021, being transferred

                                                                                                        20   away from OnlineNIC. However the transfer was canceled, and the domain name remains at OnlineNIC.

                                                                                                        21   Id. ¶ 11. This domain name was not listed on Defendants’ Second Amended Statement of Assets. Id. ¶ 12.

                                                                                                        22          Another example includes the domain name dns-diy.net. This domain name was not disclosed by

                                                                                                        23   Defendants in discovery, however, the data from a historic whois record shows the domain name

                                                                                                        24   registered with OnlineNIC, listing one of OnlineNIC’s business addresses (3027 Teagarden St.,

                                                                                                        25   San Leandro, CA), and the associated email addresses sumxmut@gmail.com, an email address associated

                                                                                                        26
                                                                                                             4
                                                                                                        27     All of these cybersquatting domain names in the portfolio should be identified and offered to the
                                                                                                             respective trademark owners. If the trademark owner declines, then the domain names should be deleted.
                                                                                                        28
                                                                                                             5 Defendants’ Second Amended Statement of Assets recited the domain names listed at ECF 129-2.
                                                                                                                                                             5
                                                                                                                                       PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY INJUNCTION
                                                                                                                                                                                     Case No. 5:19-cv-07071-SVK
                                                                                                                     Case 3:19-cv-07071-SI          Document 140         Filed 07/27/21    Page 6 of 7


                                                                                                         1   with Defendants. Id. ¶ 13 & Ex. 4. The current whois record shows that the domain name was transferred

                                                                                                         2   away from OnlineNIC to Ename on or about July 20, 2021. Id. ¶ 14 & Ex. 5. This domain name was not

                                                                                                         3   listed on Defendants’ Second Amended Statement of Assets. Id. ¶ 15.

                                                                                                         4          Other examples include the domain names domain-reminder.com, domainwhois-verification.com,

                                                                                                         5   domainwhois-verification.com, and idc-internet.com. The data from historic whois records shows these

                                                                                                         6   domain names were registered with OnlineNIC, and the associated email addresses sumxmut@gmail.com,

                                                                                                         7   an email address associated with Defendants. Id. ¶ 16 & Exs. 6. The current whois records show that each

                                                                                                         8   of the domain names was transferred away from OnlineNIC to Ename on or about July 20, 2021.

                                                                                                         9   Id. ¶ 17 & Ex. 7. These domain names were not listed on Defendants’ Second Amended Statement of
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                                                                                                        10   Assets. Id. ¶ 18.

                                                                                                        11          Additionally, at least thirty-nine other domain names disclosed by Defendants in discovery as

                                                                                                        12   owned by Defendants were transferred from OnlineNIC to Ename on or about July 20, 2021.

                                                                                                        13   Id. ¶ 19 & Ex. 8. These domain names were not listed on Defendants’ Second Amended Statement of
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                                                                                                        14   Assets. Id. ¶ 20.

                                                                                                        15          C.      Defendants’ remaining objections to the asset freeze are irrelevant and inadequate.

                                                                                                        16          Defendants argue that the asset freeze prevents Defendants from selling OnlineNIC. ECF No. 131

                                                                                                        17   at 3. The possibility of OnlineNIC being sold as a going concern is not restrained by the asset freeze. The

                                                                                                        18   continuation of Defendants’ day-to-day operations is, in fact, contemplated and accounted for in the TRO.

                                                                                                        19   ECF No. 132 at 1.

                                                                                                        20          Defendants’ objection that the asset freeze prevents them from paying reasonable legal fees is

                                                                                                        21   equally unconvincing. See ECF No. 131 at 3. Defendants have filed a notice of non-opposition (ECF No.

                                                                                                        22   120) to Plaintiffs’ motion for terminating sanctions (ECF No. 117) and Defendants’ counsel has filed a

                                                                                                        23   motion to withdraw as counsel. ECF No. 121. Furthermore, Defendants’ Officer declared in support of

                                                                                                        24   that motion that “Defendants do not intend to file any oppositions to any pending filing.” ECF No. 121.02.

                                                                                                        25   As a result, this litigation is effectively concluded as to the Defendants.

                                                                                                        26   III.   CONCLUSION

                                                                                                        27          Defendants have demonstrated an unabated intent to lie to the Court and to hide and dissipate their

                                                                                                        28   assets to avoid their liabilities. A preliminary injunction is necessary to prevent Defendants from

                                                                                                                                                              6
                                                                                                                                        PLAINTIFFS’ SUPPLEMENTAL BRIEF IN SUPPORT OF PRELIMINARY INJUNCTION
                                                                                                                                                                                      Case No. 5:19-cv-07071-SVK
                                                                                                                     Case 3:19-cv-07071-SI          Document 140         Filed 07/27/21      Page 7 of 7


                                                                                                         1   dissipating their assets in order to avoid their financial obligations to the Special Master and to Plaintiffs.

                                                                                                         2   DATED: July 27, 2021                                   Tucker Ellis LLP
                                                                                                         3

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                                                                                                                                                                    By: /s/David J. Steele
                                                                                                         5                                                               David J. Steele
                                                                                                                                                                         Howard A. Kroll
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                                                                                                                                                                         Steven E. Lauridsen
                                                                                                         7
                                                                                                                                                                    Davis Polk & Wardwell, LLP
                                                                                                         8                                                              Ashok Ramani
                                                                                                                                                                        Micah G. Block
                                                                                                         9                                                              Cristina M. Rincon
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                                                                                                                                                                         Attorneys for Plaintiffs,
                                                                                                        11                                                               FACEBOOK, INC. and INSTAGRAM, LLC

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                                                                                                                                                                                      Case No. 5:19-cv-07071-SVK
